                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:03CR135-3-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                          ORDER
                                    )
VEDA PORRECA                        )
                                    )
                  Defendant.        )
____________________________________)

        This matter is before the court upon its own motion. After post-sentencing argumentation,

the Court believes it is necessary for the record to clarify its reasoning concerning a thirty (30)

month concurrent sentence issued based on Defendant’s probation violation. The Court here

clarifies that the issuance of this sentence was based not on a post-Booker analysis or considering

the factors listed in 18 U.S.C. § 3553(a), but solely on consideration of the Sentencing

Guidelines alone, and treating those Guidelines as mandatory. The record should be should

reflect this reasoning.

        IT IS SO ORDERED.




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                       Signed: December 5, 2005




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